Case 2:12-md-02311-SFC-RSW ECF No. 108, PageID.1571 Filed 05/29/12 Page 1 of 30




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION
 __________________________________________
                                            :
 IN RE: AUTOMOTIVE WIRE HARNESS             :
 SYSTEMS ANTITRUST LITIGATION               :  Master File No. 12-md-02311
                                            :
 __________________________________________:
                                            :
 THIS DOCUMENT RELATES TO:                  :
 ALL ACTIONS                                :
 __________________________________________:


                    JOINT MEMORANDUM OF PLAINTIFFS AND DEFENDANTS
                           REGARDING DISCOVERY SUBMISSIONS

             Direct Purchaser Plaintiffs, Automobile Dealer Plaintiffs and End Payor Plaintiffs

 (collectively “Plaintiffs”) and Defendants, by their undersigned counsel, submit this joint

 memorandum regarding the discovery submissions ordered to be submitted to the Court under

 the March 29, 2012 Case Management Order No. 1 [Dkt. No. 73] (“CMO No. 1”).

                                         I.     INTRODUCTION

             CMO No. 1 provides as follows at ¶ 23:

                    23.     Direct Purchaser Interim Lead Counsel, Automobile Dealer
                    Interim Lead Counsel, End-Payor Interim Lead Counsel and
                    counsel for the Defendants shall meet and confer and jointly
                    submit the following to the Court no later than sixty (60) days from
                    the date of this Order:

                    a.   a discovery plan;
                    b.   a proposed Protective Order;
                    c.   a proposed Document Preservation Order;
                    d.   a proposed Expert Discovery Stipulation; and
                    e.   a proposed Electronically Stored Information Protocol.


             In compliance with the foregoing, Plaintiffs and Defendants (“the Parties”) met and

 conferred in person and telephonically on several occasions in May to attempt to reach


                                                      1
 3004487.8
Case 2:12-md-02311-SFC-RSW ECF No. 108, PageID.1572 Filed 05/29/12 Page 2 of 30




 agreement on as many issues as possible. The Parties are pleased to report that they have

 narrowed the issues significantly and agreed on most matters.

             The purpose of this memorandum is twofold: (1) to submit the Parties’ agreed proposed

 submissions for the Court’s consideration and, if satisfactory, the Court’s approval; and (2)

 where the Parties were unable to agree, to submit the Parties’ respective proposals, along with

 succinct position statements, for the Court’s consideration. The Parties look forward to further

 addressing the remaining issues and responding to any questions the Court may have at the

 Status Conference on June 15, 2012.

               II.        DISCOVERY PLAN AND DOCUMENT PRESERVATION ORDER

             The Parties’ proposed Initial Discovery Plan, attached as Exhibit 1, includes Paragraph 9,

 concerning document preservation. As a result, the Parties have not created a separate document

 to address that issue.

             The Parties have reached agreement on all points contained in the proposed Discovery

 Plan, except for the following:

             A.      Production of Grand Jury subpoenas, search warrants, document demands and any

 agreed-upon search protocols or limits on the scope of search and production concerning

 documents produced to the United States Department of Justice (“DOJ”)

                     1.      Plaintiffs’ Position:

             The parties are pleased to inform Your Honor that they have reached agreement on

 almost all of a proposed Initial Discovery Plan. In summary, the Initial Discovery Plan being

 presented to the Court provides that the Defendants who have either pled guilty or who the

 Department of Justice has announced have agreed to plead guilty will provide to Plaintiffs the

 wire harness and related products documents that they have produced to the Department of


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 3004487.8
Case 2:12-md-02311-SFC-RSW ECF No. 108, PageID.1573 Filed 05/29/12 Page 3 of 30




 Justice (the “DOJ Documents”). Production of the DOJ Documents will commence no later than

 August 1, 2012, and end on October 16, 2012. Defendants who have not pled guilty and the

 Plaintiffs will exchange initial disclosures by August 1, 2012.

             The parties have also agreed to discuss production of transactional data beginning no

 later than July 16, 2012. Doing so will facilitate the parties working out any issues related to the

 transactional data and the eventual production of usable data more quickly after the motions to

 dismiss are decided.

             All other discovery will start, subject to Court approval, after the Court decides the

 motions to dismiss.

             There is an important area of disagreement between the parties regarding production of

 the DOJ Documents. Plaintiffs’ position is that, along with the DOJ Documents, Defendants

 should also provide documents and information necessary for Plaintiffs to be able to more easily

 and meaningfully review the DOJ Documents, such as source logs for the documents, lists of

 custodians of the documents produced and of all employees whose records were searched, a list

 of which locations were searched, the manner and methodology of the searches that were

 conducted, any search terms that were used, agreed-upon search protocols or limits on the scope

 of searches and production concerning the DOJ Documents, and subpoenas, search warrants, and

 document demands. Defendants contend that Plaintiffs are not entitled to these documents,

 although they have told Plaintiffs that source and custodian information will be provided along

 with the production of electronic, but not hard copy, DOJ Documents.

             Plaintiffs believe that it is important and logical for the Defendants to provide the

 information set forth above so that Plaintiffs can more easily and economically review the DOJ

 Documents. Defendants have the information and it could be readily produced. While Plaintiffs


                                                       3
 3004487.8
Case 2:12-md-02311-SFC-RSW ECF No. 108, PageID.1574 Filed 05/29/12 Page 4 of 30




 are gratified that some Defendants agreed to produce DOJ Documents, there is no reason that

 they should not also provide basic information like whose records were searched, the search

 locations, etc. now. All such information would be fair game in discovery. Defendants should

 be required to provide it now, when it would be most productively used, instead of later, after the

 DOJ Documents have already been reviewed. Defendant’s refusal to provide that information

 only delays the inevitable and makes Plaintiffs’ job harder. Therefore, Plaintiffs respectfully ask

 the Court to order Defendants to produce the additional documents and information to Plaintiffs

 along with the DOJ Documents.

                    2.     Defendants’ Position:

             Defendants have agreed to provide Plaintiffs with millions of pages of automotive wire

 harness-related documents produced to the United States Department of Justice (“DOJ”), and

 will begin doing so no later than August 1, 2012, as reflected in the proposed Initial Discovery

 Plan.1 Despite Defendants’ willingness to produce these documents before motions to dismiss

 have been decided and the scope of the case has been defined, Plaintiffs claim that they are

 entitled to more. Specifically, they demand not only the documents that certain Defendants

 produced to the DOJ, but also copies of grand jury subpoenas, search warrants, document

 demands and any agreed upon search protocols or limits on the scope of the searches concerning

 those Defendants’ document productions to the DOJ. Because these materials would reveal “the

 nature, scope, or direction of the grand jury inquiry,” FDIC v. Ernst & Whinney, 921 F.2d 83, 87

 (6th Cir.1990), they are protected from disclosure under Rule 6(e) of the Federal Rules of

 Criminal Procedure.



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         In so doing, the producing Defendants will also provide Plaintiffs with the fields that
 were provided to the DOJ, which will indicate to Plaintiffs, among other information, the
 custodians and sources of the DOJ Documents.
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 3004487.8
Case 2:12-md-02311-SFC-RSW ECF No. 108, PageID.1575 Filed 05/29/12 Page 5 of 30




             The “General Rule of Grand Jury Secrecy” reflects a “strong” and “well-established

 policy” that strictly limits disclosures of matters occurring before a grand jury. See U.S. v.

 Procter & Gamble Co., 356 U.S. 677, 681 (1958); In re Grand Jury Proceedings, 841 F.2d 1264,

 1267-68 (6th Cir. 1988). Safeguarding the confidentiality of grand jury proceedings serves

 several interests, including the promotion of honesty and cooperation of potential grand jury

 witnesses and the protection of the innocent accused. See Douglas Oil Co. v. Petrol Stops

 Northwest, 441 U.S. 211, 218 (1979). In addition, as observed by the Sixth Circuit, “the need for

 secrecy continues even after the persons indicted by the grand jury have pleaded guilty, as they

 had in United States v. Sells Engineering, Inc., 463 U.S. 418 (1983) … [because] courts must

 consider not only the immediate effects upon a particular grand jury, but also the possible effect

 upon the functioning of future grand juries.” Douglas Oil, 441 U.S. at 222; In re Grand Jury

 Proceedings, 841 F.2d at 1268.

             Accordingly, there is a presumption in this Circuit that all confidential documentary

 information before a grand jury constitutes grand jury materials entitled to protection. FDIC v.

 Ernst & Whinney, 921 F.2d 83, 87 (6th Cir.1990). Although a party may rebut this presumption

 by showing “that the documents are public or were not obtained by coercive means or that

 discovery would otherwise be available by civil discovery and would not reveal the nature,

 scope, or direction of the grand jury inquiry,” (FDIC, 921 F.2d at 87 (emphasis added)),

 Plaintiffs cannot meet this burden. The subpoenas and related documents are essentially the

 concrete summary of the nature, scope, and direction of the grand jury’s inquiry. As such, they

 clearly fall under Rule 6(e)’s protection, and courts have considered them to be “matters

 occurring before the grand jury” entitled to protection under Rule 6(e). See Fiumara v. Higgins,

 572 F. Supp. 1093, 1105 (D.N.H. 1983); May Dep’t Stores Co. v. First Nat’l Supermarkets, No.


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 3004487.8
Case 2:12-md-02311-SFC-RSW ECF No. 108, PageID.1576 Filed 05/29/12 Page 6 of 30




 81-1738, 1984 WL 419, at *3-5 (N.D. Ohio Mar. 26, 1984); U.S. v. White Ready-Mix Concrete

 Co., 509 F. Supp. 747, 750 (N.D. Ohio 1981); Application of State of Cal., 195 F.Supp. 37, 40-

 41 (E.D. Pa. 1961). Indeed, in In re Caremark Int'l, Inc. Sec. Litig., No. 94 C 4751, 1995 WL

 557496, at *3 (N.D. Ill. Sept. 14, 1995), the Court, although requiring the production of ordinary

 course of business documents produced to the DOJ, made clear that “responsive documents

 should not be produced with any grand jury subpoenas or document indices provided to the

 grand jury; in other words, they should not be compiled for the plaintiffs in the same manner

 they were presented to the grand jury, for that would disclose the workings of the grand jury.”

 Simply put, Plaintiffs are not entitled to invade the province of the grand jury, yet that is

 precisely what they seek to do in improperly insisting on production of subpoenas, search

 protocols and the like.

             In addition to impermissibly invading grand jury secrecy, Plaintiffs’ demand for

 information about the specifics of search methodologies is outside the scope of discovery. The

 Federal Rules of Civil Procedure do not give requesting parties the right to conduct the actual

 search for relevant data. See In re Ford Motor Co., 345 F.3d 1315, 1317 (11th Cir. 2003). “The

 discovery process is designed to be extrajudicial, and relies upon the responding party to search

 his records to produce the requested data.” Powers v. Thomas M. Cooley Law School, No. 5:05-

 cv-117, 2006 WL 2711512, at *5 (W.D. Mich. Sept. 21 2006) Here, Plaintiffs aren’t even the

 requesting parties! These productions were in response to DOJ demands. The DOJ was satisfied

 with them, and Plaintiffs have no business inquiring into the producing Defendants’ searches,

 much less suggesting that the producing Defendants did not conduct their searches appropriately.

 Even were Plaintiffs the requesting parties – and they are not – “[i]n the absence of a strong

 showing that the responding party has somehow defaulted in his obligation, the court should not


                                                     6
 3004487.8
Case 2:12-md-02311-SFC-RSW ECF No. 108, PageID.1577 Filed 05/29/12 Page 7 of 30




 resort to extreme, expensive, or extraordinary means to guarantee compliance.” Powers, 2006

 WL 2711512 at *5; see also Advante Int'l Corp. v. Mintel Learning Tech., No. C 05-01022, 2006

 WL 1806151, at *1 (N.D. Cal. June 29, 2006) (denying plaintiffs’ motion to compel discovery

 because a party does not have “an unfettered right to conduct its own examination of the

 opposing party’s computers”). The producing Defendants have not given Plaintiffs any reason to

 doubt either their prior compliance with their subpoena obligations – which Plaintiffs have no

 standing to challenge in any event – or their intention to comply with their discovery obligations

 under the Federal Rules of Civil Procedure and, therefore, should not have to undergo the

 unreasonable costs and potential privacy risks associated with providing Plaintiffs with detailed

 information about past search methodologies. That, however, is precisely the result Plaintiffs

 seek to have the Court order here.

             B.     Preservation

                    1.      Plaintiffs’ Position:

             The only other area of contention is that Plaintiffs have proposed that the parties meet,

 confer and agree on document preservation issues by December 1, while Defendants want to do

 it earlier. Plaintiffs believe that they need time after production of the DOJ Documents to be

 able to reasonably determine what appropriate document preservation periods should be in this

 case. The parties may be able to agree sooner, but Plaintiffs should not be rushed.

             Plaintiffs propose that the Court adopt the following language in an Order as to the

 Discovery Plan with respect to document preservation: “The Parties are cognizant of their

 obligations under the Federal Rules of Civil Procedure and applicable case law to preserve

 electronically stored information (“ESI”) and hard copy documents (collectively, “Documents”)




                                                      7
 3004487.8
Case 2:12-md-02311-SFC-RSW ECF No. 108, PageID.1578 Filed 05/29/12 Page 8 of 30




 relevant to these Actions and have agreed to meet and confer on these issues and to resolve them

 by December 1, 2012.”

             The merits of the unresolved points are the real issue before the Court now – not the

 minutiae of the back-and-forth of the Parties failed efforts to resolve particular issues. Moreover,

 both Plaintiffs and Defendants no doubt were willing to make certain proposed compromises in

 the interest of reaching an agreement on all issues. The question now is not whether one set of

 parties or another was more or less fair in the unsuccessful portions of negotiations that

 proceeded in good faith on all sides. Having said that, Plaintiffs strongly differ with Defendants’

 view of the negotiations that have led to the filing of this document and feel compelled to

 respond to Defendants’ characterization of the negotiations. It is disappointing that Defendants

 feel the need to depict themselves as the only reasonable parties and wrongly allege that

 Plaintiffs have declined to engage in substantive discussions.

             Defendants forget that the Parties began this process with differing views, which remain,

 on the appropriate time parameters of Defendants’ document preservation. In Plaintiffs’ view, it

 is woefully premature to set bracket dates for Defendants’ preservation obligations. Plaintiffs

 must further investigate both the origins and the continuing effects of the admitted wire harness

 cartel, which have significant implications for both liability and damages. Plaintiffs do not and

 cannot slavishly assume that the Department of Justice – which has different responsibilities and

 objectives in its criminal cases than Plaintiffs do in their civil cases – has defined the temporal

 range of the wire harness cartel once and for all. For example, the time frame for a guilty plea in

 a criminal case may be subject to plea negotiations between the government and the accused.

             While Plaintiffs’ Rule 11 obligations govern their pleadings, those obligations do not

 prohibit Plaintiffs from fully investigating when exactly the wire harness cartel got its start.


                                                      8
 3004487.8
Case 2:12-md-02311-SFC-RSW ECF No. 108, PageID.1579 Filed 05/29/12 Page 9 of 30




 Defendants should not be given carte blanche to destroy the documents that hold the answer.

 Yet under the guise of burden and expense, they seek the imprimatur of the Court to do just that.

 In reality, any burden of preserving existing, likely technologically obsolete back-up tapes is

 negligible.

             Plaintiffs will propose – and are willing to stipulate to – a reasonable preservation period

 once that period can fairly be determined. Defendants demand that Plaintiffs accede to their

 proposed beginning and end dates based on a supposed burden that Defendants have never

 substantiated. Plaintiffs simply ask for a reasonable amount of time to ascertain the appropriate

 dates for document preservation. 2

             2.     Defendants’ Position:

             On May 4, 2012, Defendants proposed reasonable preservation limits3 in response to

 Plaintiffs’ earlier suggestion that Defendants preserve documents above and beyond the


             2
             This process began when it was agreed that Plaintiffs would submit the initial draft preservation stip on
 April 27, 2012 to begin negotiations. Plaintiffs did exactly that. Defendants on May 4, 2012 did not work from
 Plaintiffs initial draft, but instead included their preservation language in the Discovery Plan draft rather than have it
 as a separate document. Defendants state there were no substantive discussions, but in fact the Parties met and
 conferred on May 9, 2012 in Washington D.C. Later, Defendants proposed another draft on May 18, 2012 and
 Plaintiffs responded to that document with edits on May 23, 2012. In the spirit of cooperation, Plaintiffs commented
 on Defendants’ draft, which was something Defendants had not done. The parties continued to exchange drafts and
 held conference calls to discuss a resolution of this issue from May 24 to May 28. During that time, the Parties
 exchanged at least six drafts.
           Plaintiffs believed at several points the Parties were close to resolution. As late as May 28, 2012 the parties
 had agreed upon all language in the draft except one line and Defendants version of that line was “... have agreed to
 meet and confer on these issues and to resolve them by September 1, 2012”. Defendants noted in that email that if it
 was agreed to “we are good to go.” Plaintiffs responded with the exact language except requesting a date of
 December 1, 2012: “... have agreed to meet and confer on these issues and to resolve them by December 1, 2012”.
  Plaintiffs had moved significantly from our initial position and were only two and a half months apart. Defendants
 since that offer have moved back to their May 9, 2012 position, except to remove a cutoff date relating to
 transactional data, while Plaintiffs stand by their proposal of May 28, 2012.
           Defendants’ statement that Plaintiffs “refuse to engage meaningfully” in this process is refuted by the
 effort, number of drafts exchanged and how close the parties came to a complete resolution. The fact that only a few
 issues remain to be decided by the Court illustrates that fair and reasonable negotiation by both sides did in fact take
 place throughout this entire process.

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           Defendant’s May 4, 2012 proposal was as follows: “The parties have agreed as follows: a. The parties
 need not preserve centrally maintained transactional data dated or created after________. b. The parties need not
 preserve other Documents [defined earlier in the document as “electronically stored information (“ESI”) and hard
                                                             9
 3004487.8
Case 2:12-md-02311-SFC-RSW ECF No. 108, PageID.1580 Filed 05/29/12 Page 10 of 30




  applicable rules and case law. Plaintiffs declined to offer alternative limits or to engage in any

  substantive discussions of the limitations Defendants proposed; instead, on May 23, 2012,

  Plaintiffs responded by deleting all discussion of document preservation. Plaintiffs’ first

  counterproposal on this topic came on May 25, 2012, when they suggested that the parties meet

  and confer to discuss the issue. Plaintiffs proposed no date by which this meet and confer would

  begin and no date by which the existing preservation issues would be resolved. Plaintiffs

  likewise did not address the fact that the Court had ordered the parties to file a joint Document

  Preservation Order. See Case Management Order No. 1 for all Direct Purchaser, Automobile

  Dealer and End-Payor Actions ¶ 23, March 29, 2012, ECF No. 73. Later on May 25, 2012, after

  prompting by Defendants, Plaintiffs suggested that the parties meet and confer on preservation

  issues by December 15, 2012 (i.e., within the next seven months). Plaintiffs’ proposal again did

  not include any date by which they believed the parties should resolve the existing preservation

  issues. On May 26, 2012, Defendants tried yet again to reach a compromise by proposing that

  the parties meet and confer and resolve preservation issues on or before September 1, 2012. In

  response, late on May 28, 2012, Plaintiffs offered to agree to meet and confer and resolve any

  disputes by December 1, 2012. 4 Thus, in spite of the substantial burdens of delay on


  copy documents”] dated or created after________. c. The parties need not preserve Documents dated or created
  prior to________. d. The parties need not preserve backup tapes or other archived information unless the party in
  possession of the backup tapes or information has reason to believe that an identifiable tape or archive location has
  relevant Documents that are non-duplicative of Documents available from another source that is more readily
  accessible.” On May 9, 2012, the parties met in Washington, D.C. for a meet and confer. At that time, Defendants
  proposed cut off dates of January 1, 1999; December 31, 2011 (transactional data); and February 24, 2011
  (documents other than transactional data).
              4
           On the morning of May 29, 2012, Defendants advised Plaintiffs that Defendants could
  not agree to this proposal given the lengthy amount of time they were proposing and the
  substantial burdens associated with preservation. However, Defendants made clear that they
  would forego the preservation limits they had earlier proposed for centrally maintained
  transactional data. Instead, they advised Plaintiffs that their final position in the discovery plan
  to be submitted to the Court would be that centrally maintained transactional data would not be
  subject to the proposed preservation limits, and Defendants would propose only that the parties
  need not preserve other Documents dated or created (i) before January 1, 1999 or (ii) on or after
                                                           10
  3004487.8
Case 2:12-md-02311-SFC-RSW ECF No. 108, PageID.1581 Filed 05/29/12 Page 11 of 30




  Defendants, Plaintiffs have declined to meaningfully engage on this important issue. This does

  not satisfy Plaintiffs’ obligations under Federal Rule of Civil Procedure 26(f)(2)-(3).

              The Department of Justice (“DOJ”) conducted raids on certain Defendants well over two

  years ago. In subsequent filings, including Informations and Rule 11 Plea Agreements, the DOJ

  has made clear that after more than two years of investigation, it has concluded that the conduct

  at issue in those filings ceased on or before February 2010, the time of the raids. Plaintiffs,

  relying on the public disclosure of the raids and the DOJ’s subsequent filings filed suit in

  October 2011.

              Continuing obligations to preserve documents over such substantial periods of time

  impose significant burdens on: (i) the employees subject to litigation holds who must ensure that

  they understand and comply with the holds; (ii) internal and external IT personnel who must

  execute litigation holds as they relate to centralized processes (e.g., email systems, servers, back-

  up tapes and other means of archiving); and (iii) internal and external counsel who must

  implement and monitor these efforts. These burdens are costly in terms of the man hours

  required and can often be completed only by sacrificing day-to-day job responsibilities. Further

  burdens have been imposed on those Defendants who have had to purchase hardware (e.g.,

  servers, back-up devices and tapes), software, and physical space for no other reason than to

  meet the storage demands of the litigation holds. Courts have recognized that these types of

  preservation activities can “cripple large corporations.” Zubulake v. UBS Warburg LLC, 220

  F.R.D. 212, 217 (S.D.N.Y. 2003) (Scheindlin, J.).

              Given the substantial burdens associated with preservation, which are often

  disproportionately felt by large companies, it is standard practice for parties to agree at the outset


  February 24. 2011. Plaintiffs were not amenable to this suggestion either, electing to stand on
  their December 1, 2012 “compromise.”
                                                     11
  3004487.8
Case 2:12-md-02311-SFC-RSW ECF No. 108, PageID.1582 Filed 05/29/12 Page 12 of 30




  of litigation on reasonable limitations, e.g., limiting preservation to documents dated or created

  prior to the date of the filing of the initial complaint, or in the case of a government investigation,

  to documents dated or created prior to the date of the initial raids. In some cases, the parties may

  agree to provide a few additional months as a buffer to capture any “chatter” that may continue

  in the weeks following the filing of the complaint or the raid.

              Consistent with these common practices and the events in this matter, Defendants

  carefully considered how to address preservation burdens while ensuring the relevant, non-

  duplicative documents would be preserved. Toward that end, Defendants’ proposal

  contemplates preserving in particular potentially relevant documents dated between January 1,

  1999 – a year before the conduct alleged in the complaints – and February 24, 2011 – a year after

  the raids, as well as centrally maintained transactional data regardless of date.

              Plaintiffs have yet to propose an alternative. Instead, Plaintiffs argue that they do not

  have enough information to make judgments about reasonable preservation limits. Yet, Plaintiffs

  base their claims on the publicly available information – the announcements concerning the DOJ

  raids and the DOJ’s filings, including Informations and Plea Agreements, which as mentioned,

  provide ample support for the dates proposed by Defendants. Plaintiffs also have suggested that

  even where the conduct at issue ceased prior to February 2010, multiyear contracts may result in

  sales continuing for several years after that. That is a red-herring. As they know, Defendants

  will continue to retain centrally maintained transactional data about their sales, as will Plaintiffs.

  That is not the issue. The issue is the substantial burden on individuals and IT personnel and the

  costs imposed on the companies to have to continue to maintain future emails and other

  documents created years after the events at issue.




                                                       12
  3004487.8
Case 2:12-md-02311-SFC-RSW ECF No. 108, PageID.1583 Filed 05/29/12 Page 13 of 30




              It is wholly unclear why Plaintiffs cannot agree – on the facts currently known to them –

  to ending preservation obligations for all documents other than centrally maintained transactional

  data for documents (i) dated or created prior to January 1, 1999 (one year before the relevant

  period stated in the complaints) and (ii) dated or created after February 24, 2011 (one year after

  the public raids by the DOJ and FBI on certain Defendants). Nor can Defendants fathom any

  basis for Plaintiffs’ refusal to agree that “[t]he parties need not preserve backup tapes or other

  archived information unless the party in possession of the backup tapes or information has reason

  to believe that an identifiable tape or archive location has relevant Documents that are non-

  duplicative of Documents available from another source that is more readily accessible.”

              Finally, Plaintiffs’ refusal to engage meaningfully on these issues within a reasonable

  timeframe is perplexing in light of Defendants’ conservative requests. Defendants’ position is

  narrowly focused on two areas that are among (i) the most expensive and difficult areas of

  preservation and (ii) the least likely to result in the loss of non-duplicative, relevant information:

  preservation of documents created a year after the conduct alleged in the complaints ended and

  back-up tapes.5



              5
            See, e.g., Fed. R. Civ. P. 26 advisory committee’s notes (2006) (“The parties’
  discussion should pay particular attention to the balance between the competing needs to
  preserve relevant evidence and to continue routine operations critical to ongoing activities.
  Complete or broad cessation of a party’s routine computer operations could paralyze the party’s
  activities. The parties should take account of these considerations in their discussions, with the
  goal of agreeing on reasonable preservation steps.”) (internal citation omitted); Pension Comm.
  of the Univ. of Montreal Pension Plan v. Banc of Am. Secs., LLC, 685 F. Supp. 2d. 456, 479
  n. 99 (S.D.N.Y. 2010) (Scheindlin, J.) (finding no need to preserve back-up tapes unless they
  are the sole source of relevant information or relate to key players whose active files are no
  longer available); Forest Lab., Inc. v. Caraco Pharm. Lab., Ltd., No. 06-cv-13143, 2009 WL
  998402, at *3 (E.D. Mich. Apr. 14, 2009) ( “As a general rule, that litigation hold does not
  apply to inaccessible backup tapes (e.g., those typically maintained solely for the purpose of
  disaster recovery), which may continue to be recycled on the schedule set forth in the company’s
  policy.”) (internal citation omitted); Fed. R. Civ. P. 26(b)(2)(C) (stating that courts may limit
  discovery where (i) “unreasonably cumulative or duplicative, or can be obtained from another
                                                      13
  3004487.8
Case 2:12-md-02311-SFC-RSW ECF No. 108, PageID.1584 Filed 05/29/12 Page 14 of 30




                                       III.    PROTECTIVE ORDER

              The Parties have reached agreement on all points contained in a proposed Protective

  Order, except for the following:

              A.     Pre-notification of the use of Highly Confidential documents

                     1.      Plaintiffs’ Position: The Parties have reached agreement on all terms of a

  proposed Protective Order with the exception of Paragraph 10 with regard to pre-notification of

  the use of Highly Confidential documents. Attached as Exhibit 2 is the Parties’ proposed

  Protective Order, with the Plaintiffs’ and Defendants’ respective, differing versions of Paragraph

  10. Plaintiffs object to Defendants’ proposal in paragraph 10(c) that advance notification be

  provided for documents intended to be used at depositions.

              Plaintiffs maintain that pre-notification of documents to be used at deposition is an

  invasion of attorney work product and preparation, and destroys the ability to elicit candid,

  accurate, unrehearsed testimony. If forced to disclose anticipated deposition exhibits, the party

  whose witness is being deposed will be able to rehearse with the witness the testimony that the

  party wants the witness to provide. This is an interference with the search for the truth that the

  discovery process represents, and prejudices plaintiffs’ ability to prepare for trial. These

  concerns are particularly acute here because it is likely that many depositions will be for trial

  purposes because the witnesses will be beyond the subpoena power of the Court.




  source that is more convenient, less burdensome or less expensive” or (iii) “the burden or
  expense of the proposed discovery outweighs its likely benefit, considering… the importance of
  the discovery in resolving the issues.”); Fed. R. Civ. P. 26(b)(2)(B) (“A party need not
  produce discovery of electronically stored information from sources that the party identifies as
  not reasonably accessible because of undue burden or cost.”).
                                                       14
  3004487.8
Case 2:12-md-02311-SFC-RSW ECF No. 108, PageID.1585 Filed 05/29/12 Page 15 of 30




              There is little potential prejudice to the defendants. Any witness or person to whom

  documents are to be shown will be subject to the sanctions provided for by the protective order.

  The documents which are likely to be the subject of discovery are not mostly historical, and

  involve an admitted criminal price-fixing conspiracy in violation of the Sherman Act. In the

  MDL antitrust class action In re Packaged Ice Antitrust Litigation, 08-md-1952 (E.D. Mich.)

  (PDB) (“Packaged Ice”), Judge Borman recently entered a protective order which does not

  require any advance notification of documents to be used at deposition. A true and correct copy

  of that protective order is attached hereto as Exhibit 3. There are no circumstances here that

  justify a burdensome, invasive notification process. In the spirit of cooperation, plaintiffs have

  made many compromises with defendants on the terms of the protective order. Advance

  notification of deposition exhibits is not justified; it was not necessary in Packaged Ice, and it is

  not necessary here. Plaintiffs’ respectfully request that the Court enter their proposed protective

  order.

    2.        Defendants’ Position:

              Plaintiffs and Defendants have worked cooperatively and successfully to reach agreement

  on nearly all parts of the proposed Protective Order. Each side has compromised preferred

  positions to reach this result. But there is one paragraph regarding “Highly Confidential

  Information” where a difference among the parties remains—paragraph 10(c)—and this

  difference raises substantial competitive issues. Defendants’ proposal addresses these issues,

  and therefore should be entered.

              By definition, a party’s Highly Confidential Information contains:

              highly sensitive and/or proprietary information, including but not limited to
              documents or information reflecting, containing, or derived from current
              confidential trade secrets, research, development, pricing, production, cost,
              marketing, or customer information, the disclosure of which, even limited to the

                                                     15
  3004487.8
Case 2:12-md-02311-SFC-RSW ECF No. 108, PageID.1586 Filed 05/29/12 Page 16 of 30




              restrictions placed on the information designated as “Confidential” under this
              Order, could compromise and/or jeopardize the Producing Party’s competitive
              business interests.

  Protective Order ¶ 5(b). Paragraph 10 of the Protective Order allows, under defined

  circumstances, attorneys to show this kind of Highly Confidential Information to certain

  categories of individuals who are not employees of the producing party, including competitors,

  customers and sometimes former employees. As a result, all parties in this industry—and

  certainly Defendants—have a keen interest in ensuring that this kind of Highly Confidential

  Information not be disclosed lightly to competitors or customers. Indeed, sometimes former

  employees are hired by competitors or customers.

              In recognition of these realities, Defendants proposed that the Protective Order include a

  version of paragraph 10(c) that does not bar Plaintiffs from showing Highly Confidential

  Information to anyone authorized to see it under the Protective Order. Instead, paragraph 10

  provides that in the very narrow situation where the person to whom the information will be

  shown is a “competitor, customer, or direct seller” to the producing party and that person did not

  author or receive the information, the attorney needs to notify the producing party, in advance,

  that he or she intends to show the party’s Highly Confidential Information to the witness, so that

  the party has time to evaluate any competitive harm that might arise before it actually arises.

              This pragmatic, tailored approach to dealing with a party’s sensitive commercial

  information that is going to be shown to a competitor or customer has no real possibility of

  wrecking Plaintiffs’ trial strategy or leading to the parade of horribles outlined by Plaintiffs.

  Disclosure of a Party’s Highly Confidential Information to a competitor or customer should be

  the exception, not the rule, and certainly warrants protection to ensure that a company’s valuable,

  commercial information is not unnecessarily shared. And while the Protective Order bars the


                                                      16
  3004487.8
Case 2:12-md-02311-SFC-RSW ECF No. 108, PageID.1587 Filed 05/29/12 Page 17 of 30




  witness from exploiting the information for his own (or his company’s) gain, any such Highly

  Confidential Information might not be easily forgotten by the witness, despite his or her best

  efforts.

              Plaintiffs rely heavily for their proposal on language taken from the protective order

  recently entered in In re Packaged Ice Antitrust Litigation, 08-md-1952 (E.D. Mich.) (PDB).

  But the requirements of protective orders are case-specific, and there is a wide gulf between the

  need for confidentiality with respect to the business of producing ice—the recipe is hardly a

  secret—and the business of producing highly customized automotive wire harnesses in response

  to individualized Requests for Quotation by sophisticated OEMs.

              Finally, one part of Plaintiffs’ proposal would allow disclosure of a party’s most Highly

  Confidential Information to a witness who had never before seen the document or known its

  contents, without the need for any notice, if (1) the witness happened to work at any point in his

  career in any capacity whatsoever for the producing party, (2) the document is being used for

  refreshment purposes or (3) the document is being used for impeachment. Pls. Proposal ¶¶

  10(b)(iii) and 10(c). (Remember that the situation of a witness who actually “authored, received,

  or is reasonably believed in good faith to be referenced in or aware of or participated in” the

  specific events referenced in the Highly Confidential Material is already covered by ¶ 10(b)(ii).)

  Not surprisingly, during the many meet-and-confer conversations, Plaintiffs could not identify a

  single instance when it would be appropriate to show a former employee/current

  competitor/current customer Highly Confidential Information from another party, whether to

  refresh his recollection or to impeach his testimony, if that former employee did not have any

  pre-existing knowledge of the events referenced in the document. Plaintiffs’ proposed language

  authorizes lawyers to do exactly that, under the unfettered guise of “impeachment” or


                                                      17
  3004487.8
Case 2:12-md-02311-SFC-RSW ECF No. 108, PageID.1588 Filed 05/29/12 Page 18 of 30




  “refreshment,” and therefore sweeps far too broadly. Indeed, plaintiffs’ proposed carve-out from

  the notice requirement (in the first few words of paragraph 10(c)) of all “persons described in

  paragraph 10(b)(ii) and (iii) above” undermines the entire purpose of the provision.6

              Defendants’ version of paragraph 10 balances the requirements of the litigation with the

  need for protection of sensitive commercial information from competitors and customers. It

  should be entered by the Court.



                              IV.     EXPERT DISCOVERY STIPULATION

              The Parties have also reached agreement on the Expert Discovery Stipulation attached as

  Exhibit 4. The Parties respectfully urge the Court to enter an Order approving the Expert

  Discovery Stipulation.

                   V.     ELECTRONICALLY STORED INFORMATION PROTOCOL

              The Parties have also reached agreement on the Stipulation and Order Regarding

  Production of Electronically Stored Information and Hard Copy Documents (“Production

  Stipulation and Order”) attached as Exhibit 5. The Parties respectfully urge the Court to enter an

  Order approving the Production Stipulation and Order.




              6
             A modest dispute remains over one part of paragraph 10(b)(ii): Plaintiffs would allow
  disclosure under certain circumstances to witnesses who “participated in the events referenced in
  the Highly Confidential Material,” while Defendants would allow such disclosure to witnesses
  who “participated in the specific events” referred to in the Highly Confidential Material. See
  Protective Order ¶ 10(b)(ii). The inclusion of the word “specific” is important: it makes clear
  that it is not enough to refer to some generalized industry fact to support disclosure of Highly
  Confidential Information to a witness who has no association with the document or information.
                                                     18
  3004487.8
Case 2:12-md-02311-SFC-RSW ECF No. 108, PageID.1589 Filed 05/29/12 Page 19 of 30




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                                         19
  3004487.8
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                                       20
  3004487.8
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                                       21
  3004487.8
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                                       22
  3004487.8
Case 2:12-md-02311-SFC-RSW ECF No. 108, PageID.1593 Filed 05/29/12 Page 23 of 30




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                                       23
  3004487.8
Case 2:12-md-02311-SFC-RSW ECF No. 108, PageID.1594 Filed 05/29/12 Page 24 of 30




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                                       24
  3004487.8
Case 2:12-md-02311-SFC-RSW ECF No. 108, PageID.1595 Filed 05/29/12 Page 25 of 30




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                                       25
  3004487.8
Case 2:12-md-02311-SFC-RSW ECF No. 108, PageID.1596 Filed 05/29/12 Page 26 of 30




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                                       26
  3004487.8
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                                       27
  3004487.8
Case 2:12-md-02311-SFC-RSW ECF No. 108, PageID.1598 Filed 05/29/12 Page 28 of 30




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                                       28
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                                       29
  3004487.8
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                                             Certificate of Service

              I hereby certify that on this 29th day of May, 2012, I filed the foregoing and exhibits

  using the Court’s ECF system which will automatically serve all counsel registered thereon.

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